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   8                       UNITED STATES DISTRICT COURT
   9                    SOUTHERN DISTRICT OF CALIFORNIA
  10   APPLE INC.,                                  CASE NO. 14cv2235 DMS (BLM)
  11                                 Plaintiff,     ORDER CONTINUING TRIAL
             vs.                                    DATE AND PRETRIAL
  12                                                CONFERENCE
       WI-LAN, INC.,
  13
                              Defendant.
  14   _______________________________
  15   AND ALL RELATED
       COUNTERCLAIMS.
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  18        Pursuant to the parties’ request, the trial date is continued from September 3,
  19 2019, to January 21, 2020, at 9:00 a.m. The July 26, 2019 hearing shall be converted
  20 to a motion hearing only. The pretrial conference shall be continued to December 20,
  21 2019, at 10:30 a.m.
  22
     DATED: July 9, 2019
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                                              HON. DANA M. SABRAW
  25                                          United States District Judge
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